              Case 1:14-cr-00227-TCB-RGV Document 158 Filed 10/11/17 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             UNITED STATES OF AMERICA                    CRIMINAL FILE NO.
                          v.                             1:14-CR-0227-2-TCB
             DAVID LEE,
                               Defendant.

                                              ORDER

                  Before the Court is an joint oral motion to continue the trial. For

             good cause shown, the motion is hereby GRANTED.

                  The trial shall commence on March 5, 2018, at 9:30 a.m. in

             Courtroom 2106 of the United States District Court in Atlanta. The

             pretrial conference is set for February 23, 2018 at 10:00 a.m. in

             Courtroom 2106. Motions in limine and proposed voir dire shall be filed

             on or before February 5, 2018, and responses to motions in limine shall be

             filed on or before February 12, 2018. Only one consolidated motion in

             limine shall be filed by each party and the motion shall not exceed 25

             pages. The response brief to the motion in limine shall not exceed 25

             pages.




AO 72A
(Rev.8/82)
              Case 1:14-cr-00227-TCB-RGV Document 158 Filed 10/11/17 Page 2 of 2




                   The time between the date of the first trial and the beginning of the

             re-trial on March 5, 2018, shall be excluded in calculating the date on

             which the trial of this case must commence under the Speedy Trial Act

             because the Court finds that the delay is for good cause, and the interests

             of justice in granting the continuance outweigh the right of the public and

             the right of the defendant to a speedy trial, pursuant to 18 U.S.C. § 3161,

             et seq.

                   IT IS SO ORDERED this 11th day of October, 2017.




                                               _________________________________
                                               TIMOTHY C. BATTEN, SR.
                                               UNITED STATES DISTRICT JUDGE




                                                  2




AO 72A
(Rev.8/82)
